Case 2:18-cv-05741-DMG-PLA Document 252 Filed 08/21/20 Page 1 of 9 Page ID #:5681



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 7
 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12    LUCAS R., et al.,                       Case No. 2:18-CV-05741 DMG PLA
13                   Plaintiffs,
                                              JOINT STIPULATION AND REQUEST TO
14         v.                                 AMEND CASE SCHEDULE PRETRIAL
                                              AND TRIAL DATES
15   ALEX AZAR, et al.,
                                             [Proposed Order Filed Concurrently
16                   Defendants.             Herewith]
17                                            Complaint Filed: June 29, 2018
18                                            Pretrial Conference Date: Dec. 22, 2020
                                              Trial Date: January 19, 2021
19                                            Judge: Hon. Dolly M. Gee
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                                                        JOINT STIPULATION AND REQUEST TO AMEND
                                                                                  CASE SCHEDULE
                                                                CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 252 Filed 08/21/20 Page 2 of 9 Page ID #:5682



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                                                    JOINT STIPULATION AND REQUEST TO AMEND
                                                                              CASE SCHEDULE
                                                            CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 252 Filed 08/21/20 Page 3 of 9 Page ID #:5683



 1         WHEREAS, on or about June 29, 2018, Plaintiffs filed a Complaint, and on or
 2   about September 7, 2018, filed a First Amended Complaint (“FAC”) in the above-
 3   captioned action (ECF Nos. 1, 81);
 4         WHEREAS, on or about November 2, 2018, the Court denied Defendants’
 5   motion to dismiss the FAC and certified five nationwide classes, which were modified
 6   by order entered December 27, 2018 (ECF Nos. 126, 141);
 7         WHEREAS, on or about January 9, 2019, Defendants answered the FAC (ECF
 8   Nos. 144, 145);
 9         WHEREAS, on or about November 12, 2019, the Parties filed a first joint
10   stipulation and request to continue the then-current schedule of pretrial and trial dates
11   by approximately three months. As addressed in the stipulation, the Parties agreed that
12   there was good cause for such a continuance in light of resources the Parties had
13   expended in an effort to settle multiple claims in this case; the volume and complexity
14   of discovery; the development of unanticipated issues in discovery; the Parties’ good-
15   faith efforts to cooperatively resolve those issues; and the scheduling of the Parties and
16   witnesses for deposition (ECF No. 203);
17         WHEREAS, on or about November 13, 2019, the Court found that there was
18   good cause for the continuance and approved the Parties’ joint request to continue the
19   then-current schedule of pretrial and trial dates by approximately three months (ECF
20   No. 204);
21         WHEREAS, on or about March 6, 2020, after taking approximately 37 fact
22   depositions, including a three-day deposition pursuant to Federal Rule of Civil
23   Procedure 30(b)(6), producing voluminous discovery, and engaging in significant meet
24   and confers to informally resolve several discovery disputes, the Parties filed a second
25   joint stipulation and request to continue the then-current schedule of pretrial and trial
26   dates by approximately two to three months. (ECF No. 219.) As addressed in that
27   stipulation, the Parties agreed there was good cause for such a continuance in light of
28   the resources the Parties expended in an effort to settle multiple claims in the case;
                                                           JOINT STIPULATION AND REQUEST TO AMEND
                                                1                                    CASE SCHEDULE
                                                                   CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 252 Filed 08/21/20 Page 4 of 9 Page ID #:5684



 1         WHEREAS, on or about March 6, 2020, the Parties filed a third joint stipulation
 2   and request to extend the March 13, 2020 deadline for non-expert discovery for certain
 3   limited and enumerated discovery, including as relevant here: (i) two depositions of
 4   third-party witnesses from Shiloh Treatment Center; (ii) a third-party deposition of
 5   General Dynamics Information Technology (“GDIT”); (iii) the deposition of Dr. Micah
 6   Sickel or his replacement; and (iv) the deposition of plaintiff Jaime D. (ECF No. 220);
 7         WHEREAS, on or about March 10, 2020, the Court found good cause for both
 8   requested continuances and approved the Parties’ joint requests to continue pre-trial and
 9   trial dates and extend certain non-expert discovery (ECF Nos. 221, 222);
10         WHEREAS, on or about April 3, 2020, in light of the COVID-19 pandemic and
11   related restrictions on and recommendations against travel, the Parties filed a fourth
12   joint stipulation and request to continue deadlines for certain remaining fact discovery
13   to 30 days from the time that federal, state, and local guidance would permit litigation-
14   related travel to resume (ECF No. 239);
15         WHEREAS, on or about April 6, 2020, the Court found good cause for the
16   requested continuance and approved the Parties’ joint request to continue certain
17   discovery deadlines (ECF No. 240);
18         WHEREAS, on or about May 12, 2020, in light of further complications brought
19   about by the COVID-19 pandemic, the Parties filed a fifth joint stipulation and request
20   to move the deadline for Initial Expert Disclosure and Reports from May 22, 2020 to
21   June 19, 2020, and to also continue the deadline to complete certain fact discovery so
22   the Parties could make reasonable efforts to complete that discovery by June 19, 2020,
23   keeping all other Pretrial and Trial Dates unchanged (ECF No. 245);
24         WHEREAS, on or about May 14, 2020, the Court found good cause for the
25   requested continuance and approved the Parties’ joint request to continue certain
26   discovery deadlines (ECF No. 247);
27         WHEREAS, on June 19, 2020, Plaintiffs served nine expert reports and disclosed
28   twelve experts, and Defendants served five expert reports and disclosed five experts,
                                                          JOINT STIPULATION AND REQUEST TO AMEND
                                               2                                    CASE SCHEDULE
                                                                  CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 252 Filed 08/21/20 Page 5 of 9 Page ID #:5685



 1   and, on July 17, 2020, Plaintiffs served an additional expert rebuttal report and
 2   Defendants served four additional expert rebuttal reports;
 3           WHEREAS, between July 13, 2020 and August 14, 2020, the Parties took
 4   seventeen expert depositions;
 5           WHEREAS, despite Plaintiffs’ best and reasonable efforts, Plaintiffs have been
 6   unable to obtain the third-party discovery from Shiloh Treatment Center and
 7   depositions from employees thereof, and thus Plaintiffs moved to compel such
 8   discovery in the Southern District of Texas on August 7, 2020 (S.D. Tex. Case No.
 9   4:20-mc-02319), and Plaintiffs’ motion to compel remains pending. Plaintiffs also have
10   been unable to take the deposition of Dr. Micah Sickel (or his replacement) due to his
11   unavailability;
12           WHEREAS, since as early as April 2019, the Parties have engaged in extensive
13   and productive settlement discussions, including but not limited to attending three in-
14   person and three telephonic Settlement Conferences with Magistrate Judge Pym, the
15   most recent occurring on February 5, 2020 (see ECF Nos. 169-172, 179, 196, 202, 206,
16   207, 214, 215);
17           WHEREAS, the Parties have agreed to engage in further settlement discussions
18   in the coming weeks;
19           WHEREAS, in light of the Parties’ intent to engage in further settlement
20   discussions, complications caused by the ongoing COVID-19 pandemic, and Plaintiffs’
21   pending motion to compel outstanding third-party discovery in the U.S. District Court
22   for the Southern District of Texas, the Parties jointly propose modest extensions of most
23   upcoming case deadlines by approximately two months;
24           WHEREAS, the Parties will work cooperatively with respect to the remaining
25   case schedule in order to provide the Court with sufficient time to fully consider the
26   pleadings and the record, and therefore agree that the Parties’ cross-motions for
27   summary judgment1, should they be needed, will be filed no later than ten weeks before
28   1
         The Parties have met and conferred, and agree that only the step-up, unfit-custodian,
                                                           JOINT STIPULATION AND REQUEST TO AMEND
                                                 3                                   CASE SCHEDULE
                                                                   CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 252 Filed 08/21/20 Page 6 of 9 Page ID #:5686



 1   the December 11, 2020 amended hearing-date (on October 2, 2020), the Parties’
 2   oppositions will be filed no later than five weeks before the December 11, 2020
 3   amended hearing-date (on November 6, 2020), and the Parties’ replies will be filed no
 4   later than three weeks before the December 11, 2020 amended hearing-date (on
 5   November 20, 2020);
 6         WHEREAS, for the foregoing reasons, the Parties submit that they have
 7   diligently conducted discovery and litigation of the case, and that good cause exists for
 8   the modest extensions requested, and such relief will not significantly delay trial in this
 9   action, but rather allow for efficient resolution of the claims;
10         NOW, THEREFORE, the Parties stipulate and respectfully request that the Court
11   adjust the current schedule as follows, or as the Court’s calendar permits:
12
13                                           Schedule

14                     Matter                          Existing Date           Proposed New
                                                                                   Date
15
      TRIAL [ x ] Court [ ] Jury                      1-19-21 at 9:30
16                                                         a.m.             3-22-21 at 9:30 a.m.
      Duration Estimate: 6 Weeks
17    FINAL PRETRIAL CONFERENCE
18    (FPTC)                                         12-22-20 at 2 p.m.       2-22-21 at 2 p.m.
      4 weeks before trial
19
20                     Matter                          Existing Date           Proposed New
                                                                                   Date
21
      Amended Pleadings and Addition of              5-17-19                Completed
22    Parties Cut-Off (includes hearing of
      motions to amend)
23
      Early Mediation Deadline                       8-5-19                 Completed
24    Joint Report re Results of Early               8-19-19
25    Mediation
      Initial Expert Disclosure & Report             6-19-20                Completed
26    Deadline
27
28
     and legal-representation claims are suitable for disposition through summary judgment.
                                                               JOINT STIPULATION AND REQUEST TO AMEND
                                                 4                                       CASE SCHEDULE
                                                                       CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 252 Filed 08/21/20 Page 7 of 9 Page ID #:5687



 1                        Matter                                                 Proposed New
                                                         Existing Date               Date
 2
 3       Rebuttal Expert Disclosure & Report           7-17-20                Completed
         Deadline
 4       Non-Expert Discovery Cut-Off                  3-13-20                Completed2
 5       (includes hearing of discovery motions)
 6       Expert Discovery Cut-Off (includes            8-14-20                Completed
         hearing of discovery motions)
 7
         Settlement Conference Completion Date 9-18-20                        12-18-20
 8
         Joint Status Report re Settlement             9-25-20                11-20-20
 9
         Motion Cut-Off (filing deadline)              9-18-20                10-30-20
10       Last hearing date for dispositive             10-23-20 at 2pm        12-11-20
         motions
11
         Motions in Limine Filing Deadline             11-6-20                 1-15-21
12
         Opposition in Motion in Limine Filing         11-20-20                1-29-21
13       Deadline
14
15       Proposed Pretrial Conference Order            12-11-20                2-12-21
16       Pretrial Exhibit Stipulation                  12-11-20                2-12-21
17       Joint Exhibit List                            12-11-20                2-12-21
18       Witness Lists & Joint Trial Witness           12-11-20                2-12-21
         Time Estimate Form
19       Witness Declarations or Marked                12-22-20                2-26-21
20       Depositions
         Objections to Witness                         1-5-21                  3-12-21
21       Declarations/Marked Depositions
22       Proposed Findings of Fact and                 12-22-20                2-23-21
         Conclusions of Law
23
         Mark Up of Opponent’s Proposed                1-5-21                  3-12-21
24       Findings/Conclusions
25
26   2
      The Parties agree that the current deadline for non-expert discovery should remain in
27   place except for the third-party discovery from Shiloh Treatment Center that is the
     subject of litigation in the Southern District of Texas and the outstanding deposition of
28   Dr. Micah Sickel or his replacement, as set forth in the Joint Stipulation and Request
     Regarding Expert Discovery and Outstanding Fact Depositions (ECF Nos. 245, 247).
                                                                 JOINT STIPULATION AND REQUEST TO AMEND
                                                   5                                       CASE SCHEDULE
                                                                         CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 252 Filed 08/21/20 Page 8 of 9 Page ID #:5688



 1         The Parties FURTHER REQUEST that the Court set a status conference, at the
 2   Court’s convenience, to discuss the revised schedule proposed herein and logistics for
 3   the upcoming trial.
 4 Dated: August _21, 2020              COOLEY LLP
 5
 6                                       By: /s/ Alexandra R. Mayhugh
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14                                      Deputy Director
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18                                      Civil Division, U.S. Department of Justice

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                                                        JOINT STIPULATION AND REQUEST TO AMEND
                                              6                                   CASE SCHEDULE
                                                                CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 252 Filed 08/21/20 Page 9 of 9 Page ID #:5689



 1                                       CERTIFICATION
 2        Pursuant to Local Rule 5-4.3.4(a)(2)(i), I certify that all of the above signatories
 3   concur in this filing’s content and have authorized the filing.
 4
 5 Dated: August 21, 2020                  COOLEY LLP
 6
 7                                          By: /s/ Alexandra R. Mayhugh
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 8                                             Attorneys for Plaintiffs
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                                                7                                    CASE SCHEDULE
                                                                   CASE NO. 2:18-CV-05741 DMG PLA
